                     4:20-cr-40026-JES-JEH # 245          Page 1 of 3
                                                                                            E-FILED
                                                                Tuesday, 08 March, 2022 09:53:40 AM
                                                                       Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                              AT ROCK ISLAND

UNITED STATES OF AMERICA,                )
                                         )
             Plaintiff,                  )
                                         )
             v.                          )       Criminal No. 20-40026
                                         )
ANTHONY TONY GAY,                        )
                                         )
             Defendant.                  )

  GOVERNMENT’S MOTION TO CONTINUE MOTION HEARING AND TRIAL

      COMES NOW the United States of America, by and through the undersigned

Assistant United States Attorney, and hereby files his motion to continue both the March

14, 2022, motion hearing and the March 28, 2022, trial.

      The defendant was charged via indictment on July 14, 2020. Throughout the case,

the defendant has filed a number of motions to continue and has repeatedly requested

that this Court appoint him new attorneys after he was unable to get along with previous

counsel. Those motions were granted. Finally, the defendant requested that he be

allowed to represent himself pro se, which motion this Court also granted after a court-

ordered psychological exam of the defendant confirmed that he was competent to

proceed pro se.

      The case had been previously set for trial on February 7, 2022. However, on

February 2, 2022, the defendant filed a motion to continue the trial because he had

contracted COVID-19. R. 219. The Court granted the motion and reset the jury trial for

March 28, 2022. d/e 2/4/22.

                                             1
                       4:20-cr-40026-JES-JEH # 245     Page 2 of 3




      On February 28, a close family member of the undersigned passed away. On

March 1, the undersigned flew out of state to be with family members, assist with final

arrangements, and otherwise deal with the myriad financial and personal issues arising

from the death of a loved one. The undersigned will be back in the office for the week of

March 7, but will be leaving again on the evening of March 11 and returning on the

evening of March 16 for what had been a previously planned trip to visit family, but

which will now include further assisting with organizing the affairs of the departed

family member, a process that will continue even after the undesigned returns to the

office on March 17.

      In addition, previous co-counsel who had been set to try this case on February 7,

2022, is now on extended family leave and unavailable to try the case. New co-counsel

has been assigned, but is still in the process of becoming familiar with the facts and

complicated procedural history of this case, something that has been further hampered

by the undersigned’s unexpected absence.

      Finally, co-counsel has received a jury duty summons for March 14, 2022, and is

therefore also unavailable for the currently scheduled motion hearing and pretrial

conference.

      Accordingly, because neither government counsel are available for the March 14,

2022, motion hearing and pre-trial conference, the government respectfully requests that

the currently-scheduled hearing be continued. The government further requests that the

jury trial currently scheduled for March 28, 2022, also be continued for approximately

three to four weeks.
                                           2
                      4:20-cr-40026-JES-JEH # 245         Page 3 of 3




       Throughout the pendency of this case, the defendant has been free on bond. This

is the government’s first motion to continue the trial.

       WHEREFORE the Government respectfully requests that the court continue both

the March 14 motion hearing and the trial.

                                          Respectfully Submitted,

                                          Gregory K. Harris
                                          United States Attorney

                                     By: /s/ John Mehochko
                                         Assistant United States Attorney
                                         1830 2nd Avenue, Suite 250
                                         Rock Island, IL 61201


                              CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2022, I electronically filed the foregoing materials
with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to all CM/ECF participant(s) in the case.

                                                  /s/ John Mehochko
                                                  Assistant United States Attorney




                                             3
